                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


RHONDA BURNETT, JEROD BREIT,
HOLLEE ELLIS, FRANCES HARVEY, and
JEREMY KEEL, on behalf of themselves and
all others similarly situated,

                       Plaintiffs,
        v.                                          Case No. 19-CV-00332-SRB

THE NATIONAL ASSOCIATION OF
REALTORS,    REALOGY HOLDINGS
CORP., HOMESERVICES OF AMERICA,
INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and
KELLER WILLIAMS REALTY, INC.,

                       Defendants.


     PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
      SETTLEMENTS WITH BROKERAGES AND NON-REALTOR MULTIPLE
                   LISTING SERVICES OPTING INTO THE
         NATIONAL ASSOCIATION OF REALTORS SETTLEMENT AND
              FOR PERMISSIVE JOINDER OF OPT-IN ENTITIES

       This Court granted Plaintiffs’ motion for preliminary approval of the National Association

of Realtors (“NAR”) Settlement on April 23, 2024, Doc. 1460. As previously described to the

Court and reflected in Plaintiffs’ Class Notice, the NAR Settlement includes mechanisms for

certain non-Realtor Multiple Listing Services (“MLSs”) and brokerages to “opt in” to the NAR

Settlement and obtain a release on the condition that they agree to, among other things: (i) make

additional monetary payments into the Settlement Fund, (ii) make certain practice changes, and

(iii) provide cooperation in certain ongoing litigation. In addition, the NAR Settlement includes a

mechanism for certain Realtor MLSs to “opt in” to the NAR Settlement and obtain a release on




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the condition that they agree, among other things, to make certain practice changes, and provide

cooperation in certain ongoing litigation.

       Fifteen non-Realtors MLSs have thus far agreed to opt into the NAR Settlement, including

by agreeing to practice changes and to pay a total of over $6 million in additional compensation to

the Settlement Class.

 Alaska MLS                                       $238,800
 BAREIS                                           $736,800
 Central Virginia Regional MLS                    $100,000
 MetroList                                        $2,280,100
 Minot MLS                                        $26,300
 MiRealSource                                     $100,000
 MLS Exchange                                     $361,300
 Real Estate Information Network (“REIN”)         $934,100
 Richmond MLS                                     $15,700
 SE Alaska MLS                                    $19,000
 Southeast Georgia MLS                            $16,800
 Spanish Peaks MLS                                $15,700
 UNYREIS                                          $250,000
 West Penn Multi-List                             $895,000
 WNYREIS                                          $250,000
 TOTAL                                            $6,239,600


       Thirteen real estate brokerages have thus far agreed to “opt in” to the NAR Settlement,

including by agreeing to pay an additional $24 million in additional compensation to the

Settlement Class.

 Fathom Holdings, Inc.                            $2,950,000
 Key Realty, Ltd.                                 $375,000
 Michael Saunders & Company                       $1,200,000
 Pinnacle Estate Properties, Inc.                 $725,000
 Rose & Womble Realty Company                     $100,000
 Brown Harris Stevens                             $2,900,000
 Shorewest Realtors, Inc.                         $6,923,153.89
 Silvercreek Realty Group                         $350,000
 The Agency                                       $3,750,000
 Vanguard                                         $2,000,000


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 Watson Realty Corp.                                  $1,350,000
 McGraw Davisson Stewart LLC                          $800,000
 Downing-Frye Realty, Inc.                            $925,000
 TOTAL                                                $24,348,154


        Together, these “opting in” MLSs and brokerages have agreed to pay an additional

$30,587,754 in compensation to the Class—creating, in connection with the NAR Settlement, a

total monetary settlement fund of at least $448,587,754 plus certain interest for the benefit of the

Class. Each opt-in entity either paid the amount reflected in the NAR Settlement agreement

formula (see NAR Settlement Agreement, at Appx C and Appx D) or an amount that was reached

after a review of the entity’s internal financial statements and arms-length negotiations.

        Although the Court previously preliminarily approved the NAR Settlement and the

procedure outlined above, out of an abundance of caution, Plaintiffs request that: (1) the Court

permit the opting-in non-Realtor MLSs and opting-in brokers to join the case for the limited

purpose of participating in the Settlement and approval process; and (2) the Court reaffirm the

preliminary approval of these “opt in” Settlements. Plaintiffs incorporate by reference their motion

for preliminary approval of the NAR Settlement (Doc. 1458) and the Court’s order granting that

motion (Doc. 1460).

        Permissive joinder is appropriate here. See FRCP 20(a)(2). Joinder under Rule 20(a)(2) is

appropriate if: (1) “any right to relief is asserted against them jointly, severally, or in the alternative

with respect to or arising out of the same transaction, occurrence, or series of transactions or

occurrences”; and (2) “any question of law or fact common to all defendants will arise in the

action.” The decision on permissive joinder is within the court’s discretion. Brown v. Adams &

Assocs., Inc., No. 4:19-CV-01864-SRC, 2020 WL 2308458, at *2 (E.D. Mo. May 8, 2020); see

also Mosley v. Gen. Motors Corp., 497 F.2d 1330, 1332–33 (8th Cir. 1974) (“the impulse is toward



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entertaining the broadest possible scope of action consistent with fairness to the parties; joinder of

claims, parties and remedies is strongly encouraged.”).

        Both prongs are satisfied here because Plaintiffs’ allegations involve allegations of a

nationwide conspiracy and a resulting series of anticompetitive transactions. The allegations made

by plaintiffs in various actions share numerous common questions of law and fact with the existing

action, including because they allegedly involve the same or similar conduct at issue in the

underlying action, and are directly related to approval of the NAR Settlement. In addition,

permitting the opting-in MLSs and brokerages to join will not delay the proceedings or otherwise

prejudice the adjudication of the main case. To the contrary, joinder provides an efficient

mechanism for opt-in brokers and non-Realtor MLSs to participate in the settlement (including by

making additional payments to the Settlement Class) and, in exchange, obtain a release under the

NAR Settlement on the same timeline as the remainder of the NAR Settlement.

        The NAR Settlement’s “Opt-in” procedure was previously disclosed to the class. For

instance, the NAR Settlement Class Notice reflects that these “opt in Settlements” are part of the

NAR Settlement and will be made available for review by Class Members on the settlement

website:

        NAR has agreed to pay $418,000,000 into a settlement fund. The current value of
        all settlements with NAR and other Defendants is over $980 million. In addition,
        certain (a) REALTOR® MLSs, (b) non-REALTOR® MLSs, and (c) real estate
        brokerages with a REALTOR® Principal that together with their affiliates have
        over $2 billion in total sales volume, have agreed to “opt in” and make payments
        under this Settlement. Those entities (and the amounts they are paying, if anything)
        will        be        reflected       on        the      settlement         website:
                                                      1
        www.RealEstateCommissionLitigation.com.




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  See https://www.realestatecommissionlitigation.com/admin/api/connectedapps.cms.extensions/asset?id=722069c7-
72dc-4993-9879-cf5d707da8a5&languageId=1033&inline=true; see also Doc. 1521 (granting form of notice
including notice of opt in settlements).


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Consistent with the NAR Settlement Class Notice, a list of all opting-in brokerages and MLSs is

reflected on the settlement website. In addition, each settlement agreement with an opting

brokerage or non-Realtor MLS has been posted to the settlement website and is available for class

members to review.2 As such, the Class has been provided with adequate notice of the opt-in

Settlements and of their rights to exclude themselves or to object to the opt-in Settlements.

Accordingly, Plaintiffs request that final approval of the opt-in Settlements be addressed at the

November 26, 2024 hearing on final approval previously set for the NAR Settlement.

           The opt-in non-Realtor MLSs and opt-in brokers listed herein have been provided this

motion and have not indicated an objection. Further, each has consented to the jurisdiction of this

Court for the limited purpose of approving and enforcing the opt-in settlement agreements.

                                                   CONCLUSION

           For the foregoing reasons, Plaintiffs request the Court grant this motion for preliminary

approval, permit the entities listed herein to join for the limited purpose of approving and enforcing

these settlement agreements, and order that final approval of the opt-in Settlements be addressed

at the November 26, 2024 hearing on final approval previously set for the NAR Settlement.




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    See https://www.realestatecommissionlitigation.com/nar-opt-in.


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September 30, 2024                     Respectfully Submitted,


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